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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

IN THE MATTER OF THE SEARCH OF
                                                    Case Number: 18-sw-6240-SKC
E-mail accounts and information
associated with                                     Filed Under Restriction
croswswalkconsulting100@yahoo.com
that is in the possession of Oath
Holdings, Inc.

______________________________________________________________________________

                                           ORDER


       THIS MATTER coming before the Court upon motion of the Government to unrestrict in

part, and the Court having considered the same,

       IT IS HEREBY ORDERED that the Application, Order, and this Motion and Order are

unrestricted in part only to allow the disclosure by the Government to defense counsel and law

enforcement, and that said documents shall otherwise remain under restriction at Level 3 with no

access by the public.

       DATED this          day of December, 2018.



                                            BY THE COURT:

                                            __________________________________
                                            UNITED STATES MAGISTRATE JUDGE
                                            DISTRICT OF COLORADO
